                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

  TIMOTHY RAY PICKETT,                          )
                                                )
               Plaintiff,                       )
                                                )            No.:   1:22-CV-60-KAC-SKL
  v.                                            )
                                                )
  RONNIE BARNETT, et al.,                       )
                                                )
               Defendants.                      )

                                         JUDGMENT

        For the reasons set forth in the Court’s Memorandum Opinion and Order, the Court

 DISMISSED Plaintiff’s complaint under Federal Rule of Civil Procedure 41(b). Because the

 Court CERTIFIED in the Memorandum Opinion and Order that any appeal would not be taken

 in good faith, should Plaintiff file a notice of appeal, he is DENIED leave to appeal in forma

 pauperis. See 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24.

        The Clerk is DIRECTED to close the file.

        SO ORDERED.

        ENTER:

                                                s/ Katherine A. Crytzer
                                                KATHERINE A. CRYTZER
                                                United States District Judge


  ENTERED AS A JUDGMENT

  s/ LeAnna R. Wilson
      CLERK OF COURT




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